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Dra~/cott, Justin (ClV)
From:                        David S. Torborg [dstorborg@JonesDay.com]
Sent:                        Friday, August 14, 2009 9:32 AM
To:                          Draycott, Justin (CIV)
Subject:                     Outstanding depositions

Attachments:                 09-07-13 Torborg Ltr re Outstanding Depositions.pdf




09-07-13 Torborg
  Ltr re Outsta...

Justin,
Attached is a copy of the July 13 letter I sent you asking for dates and witness names
with respect to the 30(b) (6) depositions ordered by the Court, as well as the outstanding
DPP lines of questioning and the Ira Burney deposition. I understand that we all are busy
on briefing various motions and that we must adjust our deposition schedule accordingly.
Still, we really need to get these depositions on the calendar so that they can be
completed in the next two months. At the very latest, we need to complete these
depositions at least a week before the summary judgment hearing scheduled for October
20th.

Thanks,
- David

(See attached file: 09-07-13 Torborg Ltr re Outstanding Depositions.pdf)

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